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        EXHIBIT 22
Case 2:17-cv-13062-DML-RSW ECF No. 49-23 filed 04/25/18    PageID.1089    Page 2 of 3




                             STATE OF MICHIGAN
               IN THE CIRCUIT COURT FOR THE COUNTY OF WAYNE
         _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
                                        )
         DETROIT POLICE OFFICER IRA LEE )
         TODD, JR.,                     )
                                        )
                        Plaintiff,      )       Civil Action
                                        )
                   -vs-                 )       No. 08-119322 NZ
                                        )
         KWAME KILPATRICK, Individually )
         and in his capacity as Mayor   )
         of the City of Detroit, and    )
         THE CITY OF DETROIT, a Michigan)
         municipal corporation, Jointly )
         and Severally,                 )
                                        )
                        Defendants.     )
         _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _)

                         The Deposition of JAMES W. TOLBERT taken

         before me, Sheila D. Rice, CSR-4163, a Notary Public

         within and for the County of Wayne, State of Michigan, at

         615 Griswold, Suite 822, Detroit, Michigan, on Wednesday,

         October 29, 2008.

         APPEARANCES:

                STEFANI & STEFANI
                512 E. Eleven Mile Road
                Royal Oak, Michigan 48067
                  (By Michael L. Stefani, Esq.),
                     Appearing on behalf of Plaintiff,
                CITY OF DETROIT LAW DEPARTMENT
                660 Woodward Avenue, Suite 1650
                Detroit, Michigan 48226
                  (By June C. Adams, Esq.
                  and Sydney R. Turner, Esq.),
                     Appearing on behalf of Defendants.


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                                                                           Page 4
    1                             THE WITNESS:     I understand.
    2                             MR. STEFANI:     And I'm going to ask
    3           you some questions.       Your lawyers may ask you some
    4           questions when I'm done.        If you don't understand
    5           any of my questions or they're confusing in any
    6           way, feel free to ask me to explain what I mean or
    7           to repeat a question.
    8                             Is that fair?
    9                             THE WITNESS:     I understand.
   10                             MR. STEFANI:     And I'm going to -- if
   11           you don't ask me to repeat a question and you just
   12           go ahead and answer it, we're going to assume that
   13           you understood the question and you answered it
   14           truthfully.
   15                             Do you understand that?
   16                             THE WITNESS:     I understand.
   17
   18                                   EXAMINATION
   19    BY MR. STEFANI:
   20    Q.     Okay.    Would you state your full name for the
   21           record, please.
   22    A.     James Winston Tolbert.
   23    Q.     And your date of birth?
   24    A.     August 8th, 1960.
   25    Q.     And your place of birth?


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